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                    UNITED STATES DISTRICT COURT
                     DISTRICT OF MASSACHUSETTS
                          BOSTON DIVISION

Metrom Rail, LLC

                           Plaintiff,

v.
                                             Case No. 1:25-cv-11446-ADB
Massachusetts Bay Transportation
Authority and Piper Networks, Inc.
                           Defendant.


       UNOPPOSED MOTION UNDER FED. R. CIV. P. 6(B) FOR AN
         EXTENSION OF TIME TO RESPOND TO COMPLAINT

      Plaintiff, Metrom Rail, LLC (Metrom) moves under Fed. R. Civ. P. 6(b) on

behalf of the named Defendants, Massachusetts Bay Transportation Authority

(MBTA) and Piper Networks, Inc. (Piper), for an extension of time to and including

July 23, 2025, to answer, move, or otherwise respond to the Complaint. As grounds

for this Motion, Metrom states the following:

      1.     Plaintiff filed its Complaint on May 21, 2025 (Dkt. 2).

      2.     Both Defendants have been served. MBTA’s answer is currently due

on June 23, 2025 and Piper’s answer is currently due on June 20, 2025.

      3.     Plaintiff, on behalf of the Defendants, respectfully requests an

extension of time be granted to Defendants to answer, plead, or otherwise respond

to Plaintiff’s Complaint to, and including, July 23, 2025.


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      4.       Good cause exists for the brief extension of time. The additional time

is necessary for the Defendants to finalize representation of Massachusetts counsel

and consider and investigate the claims in the 35-page Complaint and to respond

accordingly.

      5.       Defendants have agreed not to argue that Plaintiff’s agreement to this

extension is a relevant basis to deny any motion for preliminary injunction that

Plaintiff may file.

      6.       Under Local Rule 7.1(a)(2), no party objects to the present request.

      7.       This is the first request for an extension of time. Neither party will be

prejudiced as a result of the extension of time.

      WHEREFORE, for the reasons stated herein, Plaintiff respectfully requests

that this Court grant this motion for an extension for Defendants to answer, move,

or otherwise respond to Plaintiff’s Complaint to and including July 23, 2025.


June 19, 2025                            /s/ Gregory C. Schodde
                                         Gregory C. Schodde
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                             Counsel for Metrom Rail, LLC




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                  LOCAL RULE 7.1(a)(2) CERTIFICATION

      I certify that the parties met and conferred in good faith to resolve the issues

in this motion. The motion is unopposed.

                                       /s/ Gregory C. Schodde
                                       Gregory C. Schodde




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                         CERTIFICATE OF SERVICE

      I certify that on June 19, 2025, I caused a true copy of the foregoing document

to be filed electronically with the Clerk of the Court using the CM/ECF system,

which will notify the parties of record via electronic notification, and delivered

copies by email to the following counsel:

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                                            /s/ Annette Vonder Mehden
                                            Annette Vonder Mehden
                                            Litigation Paralegal




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